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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                        CASE NO. 17-81261-CIV-DIMITROULEAS
  ALL-TAG CORP,
                                                                Magistrate Judge Matthewman
         Plaintiff,
  vs.

  CHECKPOINT SYSTEMS, INC.,

        Defendant.
  ____________________________________/

      AMENDED1 ORDER SETTING TRIAL DATE & DISCOVERY DEADLINES,
    REFERRING CASE TO MEDIATION & REFERRING DISCOVERY MOTIONS TO
                   UNITED STATES MAGISTRATE JUDGE

         THIS CAUSE is before the Court upon receipt of the parties’ Joint Scheduling Report.

  It is thereupon, ORDERED AND ADJUDGED as follows:

                                         Trial Date & Location

         1. This case is set for trial on the two-week calendar commencing Monday, January 6,

  2020. Counsel for all parties shall appear at a calendar call commencing at 10:00 A.M. on

  Friday, January 3, 2020. Unless instructed otherwise by subsequent order, the trial and all other

  proceedings in this case shall be conducted in Courtroom 205B at the U.S. Courthouse,

  299 E. Broward Boulevard, Fort Lauderdale, Florida.

                                            Motion Practice

         2. Every pretrial motion filed in this case shall be accompanied by a proposed order

  granting the motion. The order shall contain an up-to-date service list of all attorneys in the case.

  Proposed orders should be submitted by email to Dimitrouleas@flsd.uscourts.gov in Word

  format. The email subject line and the name of the attachment should include the case number

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             Amended only to reflect the correct paired magistrate judge.
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  and a short description of the attachment.

                                          Pretrial Schedule

         3. Pretrial discovery shall be conducted in accordance with Local Rules 16.1 and 26.1

  and the Federal Rules of Civil Procedure. No pretrial conference shall be held in this action,

  unless the Court determines, sua sponte, that a pretrial conference is necessary. In setting the

  following deadlines, the Court has considered the parties’ suggested discovery schedule. Dates

  and other agreements between the parties not otherwise addressed herein shall be considered part

  of this Order. To the extent this Order conflicts with the Local Rules, this Order supercedes the

  Local Rules.

                 Motions To Amend
                 Pleadings/Add Parties                  – June 13, 2019

                 Discovery Cutoff                       – September 11, 2019

                 Substantive Pretrial Motions           – October 11, 2019

                 Daubert Motions                        – 60 days before calendar call

                 Mediation Cutoff                       – 60 days before start of the trial’s two-week
                                                        calendar

                 Mandatory Pretrial Stipulation         – December 20, 2019

                 Motions in Limine                      – December 20, 2019

                 Responses to Motions in Limine         – December 27, 2019

                 Jury Instructions or Proposed
                 Findings & Conclusions                 – December 27, 2019

                 Voir Dire Questions                    – Calendar call

                 Exhibit List for Court                 – First day of Trial (impeachment excepted)



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                 Witness List for Court                  – First day of Trial (impeachment excepted)


                                   Mandatory Pretrial Stipulation

         4. Counsel must meet at least one month prior to the beginning of the trial period to

  confer on the preparation of a Pretrial Stipulation in accordance with Local Rule 16.1E.

  A Pretrial Stipulation lacking substance will not be accepted. Any party causing a unilateral

  pretrial stipulation to be filed will be required to show cause why sanctions should not be

  imposed. Each attorney and each self-represented party is charged with the duty of complying

  with this Order. A motion for continuance shall not stay the requirement for the filing of the

  Pretrial Stipulation and, unless an emergency situation arises, a motion for continuance will not

  be considered unless it is filed at least twenty (20) days prior to the calendar call. Failure to

  comply with the time schedule may result in dismissal or other sanctions.

                                          Consent Jurisdiction

         5. In light of the benefits offered by a trial before a magistrate judge, e.g., trial on a date

  certain as opposed to placement on a trial calendar, the parties are urged to consider this option.

  Therefore, within twenty (20) days of the entry of this Order each attorney is ordered to meet

  with his/her client and discuss this option. Plaintiff’s counsel shall monitor this process. If there

  is not unanimity in favor of magistrate jurisdiction, plaintiff’s counsel need do nothing further.

  If, however, there is unanimity in favor of magistrate jurisdiction, plaintiff’s counsel shall

  execute the form (available at http://www.flsd.uscourts.gov/default.asp?file=general/forms.asp)

  entitled “Notice of Right to Consent to Disposition of a Civil Case by a United States Magistrate

  Judge,” and forward the original, executed form to defendants’ counsel. After completion by all



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  defendants or their counsel, the original form should be forwarded to the Clerk of the Court, Fort

  Lauderdale Division.

                                              Mediation

         6. Pursuant to Federal Rule of Civil Procedure 16 and Local Rule 16.2, this case is

  referred to mediation as follows:

                 a. All parties are required to participate in mediation. The mediation shall be

  completed no later than sixty (60) days before the scheduled trial date.

                 b. Plaintiff's counsel, or another attorney agreed upon by all counsel of record and

  any unrepresented parties, shall be responsible for scheduling the mediation conference. The

  parties are encouraged to avail themselves of the services of any mediator on the List of Certified

  Mediators, maintained in the office of the Clerk of this Court, but may select any other mediator.

  The parties shall agree upon a mediator and advise the Clerk’s Office of their choice in writing

  within fourteen (14) days from the date hereof. If there is no agreement, lead counsel shall

  promptly notify the Clerk in writing and the Clerk shall designate a mediator from the List of

  Certified Mediators, which designation shall be made on a blind rotation basis.

                 c. A place, date, and time for mediation convenient to the mediator, counsel of

  record, and unrepresented parties shall be established. The parties shall jointly submit proposed

  Order Scheduling Mediation for entry by the Court.

                 d. Pursuant to Local Rule 16.2.E, the appearance of counsel and each party or

  representatives of each party with full authority to enter into a full and complete compromise and

  settlement is mandatory. If insurance is involved, an adjuster with authority up to the policy

  limits or the most recent demand, whichever is lower, shall attend.


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                 e. All proceedings of the mediation shall be confidential and privileged.

                 f. At least fourteen (14) days prior to the mediation date, each party shall present

  to the mediator a confidential brief written summary of the case identifying issues to be resolved.

                 g. The Court may impose sanctions against parties and/or counsel who do not

  comply with the attendance or settlement authority requirements herein who otherwise violate the

  terms of this Order. The mediator shall report non-attendance and may recommend imposition of

  sanctions by the Court for non-attendance.

                 h. The mediator shall be compensated in accordance with the standing order of the

  Court entered pursuant to Rule 16.2.B.6, or on such basis as may be agreed to in writing by the

  parties and the mediator selected by the parties. The cost of mediation shall be shared equally by

  the parties unless otherwise ordered by the Court. All payments shall be remitted to the mediator

  within forty-five (45) days of the date of the bill. Notice to the mediator of cancellation or

  settlement prior to the scheduled mediation conference must be given at least three (3) full

  business days in advance. Failure to do so will result in imposition of a fee for two hours.

                 i. If a full or partial settlement is reached in this case, counsel shall promptly

  notify the Court of the settlement in accordance with Local Rule 16.2.F., by the filing of a notice

  of settlement signed by counsel of record within ten (10) days of the mediation conference.

  Thereafter the parties shall forthwith submit an appropriate pleading concluding the case.

                 j. Within seven (7) days following the mediation conference, the mediator shall

  file a Mediation Report indicating whether all required parties were present. The report shall also

  indicate whether the case settled (in full or in part), was adjourned, or whether the mediator

  declared an impasse.


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                  k. If mediation is not conducted, the case may be stricken from the trial calendar,

  and other sanctions may be imposed.

                              Discovery Referred to Magistrate Judge

          7. In accordance with 28 U.S.C. § 636 and the Magistrate Rules of the Local Rules of the

  Southern District of Florida, the above-captioned cause is referred to United States Magistrate

  Judge William Matthewman for appropriate disposition of all pretrial discovery motions, and all

  motions that relate directly to these motions, such as motions for extension of time, motions for

  reconsideration, motions for sanctions, and motions for mental or physical examinations. This

  Order does not refer any motion which requests a continuance or extension of the trial or pretrial

  scheduling dates.

                                                Exhibits

          8. Exhibits must be pre-marked and exchanged prior to execution of the Pretrial

  Stipulation. Each exhibit should be marked with a sticker identifying the case number, exhibit

  number, and party offering the exhibit.

             Jury Instructions or Proposed Findings of Fact and Conclusions of Law

          9. In cases tried before a jury, each party shall submit joint, stipulated proposed jury

  instructions and a joint, stipulated proposed verdict form in hard copy form and on CD in Word

  format. All requested instructions shall be typed on a separate page, and except for Eleventh

  Circuit Pattern instructions, must be supported by citations of authority. Any objections to the

  proposed instructions shall be stated clearly and concisely and also shall be supported by

  citations of authority.

          Alternatively, in cases tried before the Court, each party shall file proposed Findings of


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  Fact & Conclusions of Law in hard copy form and on CD in Word format. Proposed

  Conclusions of Law must be supported by citations of authority.

                                             Settlement

         10. If a case is settled, counsel are directed to inform the Court promptly at (954) 769-

  5650 and to submit an appropriate stipulation Order for Dismissal, pursuant to Fed. R. Civ. P.

  41(a)(1). Such an Order must be filed within ten (10) days of notification of the Court.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  17th day of May, 2018.




  Copies furnished to:
  Magistrate Judge Matthewman
  All Counsel of Record




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